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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                    )
                                          )
ITT EDUCATIONAL SERVICES, INC., et al. 1  )                               Case No. 16-07207-JMC-7A
                                          )
      Debtors.                            )                               Jointly Administered
__________________________________________)
                                          )
DEBORAH J. CARUSO, the CHAPTER 7          )
TRUSTEE for ITT EDUCATIONAL               )
SERVICES, INC., ESI SERVICE CORP. and     )
DANIEL WEBSTER COLLEGE, INC.,             )
                                          )
                  Plaintiff,              )                               Adversary No. 18-50100
                                          )
      vs.                                 )
                                          )
KEVIN MODANY, JOHN E. DEAN, C. DAVID )
BROWN II, JOANNA T. LAU, THOMAS I.        )
MORGAN, JOHN VINCENT WEBER, JOHN F. )
COZZI, SAMUEL L. ODLE, and JERRY M.       )
COHEN,                                    )
                                          )
                  Defendants.             )

                NOTICE OF INITIAL EXTENSION OF TIME TO RESPOND
              TO FORMER DIRECTORS’ MOTION TO DISMISS COMPLAINT

         Come now Deborah J. Caruso, the Chapter 7 Trustee for ITT Educational Services Inc.,

ESI Service Corp. and Daniel Webster College, Inc. (“the Trustee”), by counsel, and pursuant to

S.D. Ind. B. 7006-1 hereby notice the Court and parties as follows:

         1.       On August 24, 2018, counsel for John E. Dean, C. David Brown II, Joanna T.

Lau, Thomas I. Morgan, John Vincent Weber, John F. Cozzi, Samuel L. Odle and Jerry M.

Cohen (collectively, the “Former Directors”) filed a Motion to Dismiss the Complaint (“Motion

to Dismiss”).

1
 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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        2.     The original due date for the Trustee’s response to the Motion to Dismiss is

September 21, 2018.

        3.     The Trustee requests an initial fourteen (14) day extension of time within which

to file a response to the Motion to Dismiss.

        4.     Counsel for the Former Directors does not object to the requested extension.

        5.     The due date for the Trustee’s response to the Motion to Dismiss is hereby

extended to and including October 5, 2018.

                                                    Respectfully submitted,

/s/ Ronald J. Schutz                                /s/ John C. Hoard____________
Ronald J. Schutz                                    John C. Hoard

Ronald J. Schutz (admitted pro hac vice)            John C. Hoard (Atty. No. 8024-49)
Carly A. Kessler (admitted pro hac vice)            RUBIN & LEVIN, P.C.
ROBINS KAPLAN LLP                                   135 N. Pennsylvania Street, Suite 1400
399 Park Avenue, Suite 3600                         Indianapolis, IN 46204
New York NY 10022                                   Telephone: (317) 634-0300
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Facsimile: (212) 980-7499
                                                    Co-counsel to the Trustee

-and-

Michael A. Collyard (admitted pro hac vice)
Richard B. Allyn (admitted pro hac vice)
Thomas F. Berndt (admitted pro hac vice)
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Co-counsel to the Trustee
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                                           CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2018, a copy of the foregoing Notice of Initial
Extension of Time to Respond to Former Directors’ Motion to Dismiss Complaint
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s Electronic Filing System. Party/parties may access this filing through the Court’s
system.

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       I further certify that on the September 11, 2018, a copy of the foregoing Notice of Initial
Extension of Time to Respond to Former Directors’ Motion to Dismiss Complaint
was mailed by first-class United States mail, postage prepaid, and properly addressed to the
following:

None.

                                                                                /s/ John C. Hoard
                                                                                   John C. Hoard

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(Directors).docx
